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 1    HEATHER E. WILLIAMS, Bar #122664
      Federal Defender
 2    VICTOR M. CHAVEZ, Bar #113752
      Assistant Federal Defender
 3    Designated Counsel for Service
      2300 Tulare Street, Suite 330
 4    Fresno, CA 93721-2226
      Telephone: (559) 487-5561
 5
      Counsel for Defendant
 6    JESUS SEBASTIAN MATA
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                   )      No. 1:15-cr-00207 DAD-BAM
                                                  )
12                   Plaintiff,                   )      STIPULATION TO CONTINUE
                                                  )      SENTENCING HEARING;
13    v.                                          )      ORDER
                                                  )
14                                                )
      JESUS SEBASTIAN MATA,                       )      DATE: February 25, 2019
15                                                )      TIME: 10:00 a.m.
                     Defendant.                   )      JUDGE: Hon. Dale A. Drozd
16                                                )
                                                  )
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18
19           IT IS HEREBY STIPULATED by and between the parties, through their respective
20    counsel, that the sentencing hearing now set for November 19, 2018, may be continued to
21    February 25, 2019, at 10:00 a.m. Defense makes this request because it needs additional time for
22    preparation.
23                                                               Respectfully submitted,
24                                                               MCGREGOR W. SCOTT
                                                                 United States Attorney
25
26    DATED: November 15, 2018                           By      /s/ Kimberly Sanchez
                                                                 KIMBERLY SANCHEZ
27                                                               Assistant United States Attorney
                                                                 Attorney for Plaintiff
28
     Case 1:15-cr-00207-DAD-BAM Document 116 Filed 11/15/18 Page 2 of 2


 1                                                                 HEATHER E. WILLIAMS
                                                                   Federal Defender
 2
 3    DATED: November 15, 2018                              By     /s/ Victor M. Chavez
                                                                   VICTOR M. CHAVEZ
 4                                                                 Assistant Federal Defender
                                                                   Attorney for Defendant
 5                                                                 JESUS SEBASTIAN MATA
 6
 7
 8                                                 ORDER

 9            The court has reviewed and considered the stipulation of the parties to continue the

10    sentencing in this case. Good cause appearing, the sentencing hearing as to the above-named
11    defendant currently scheduled for November 19, 2018, is continued until February 25, 2019, at
12    10:00 a.m. in courtroom 5 before District Judge Dale A. Drozd. No further extensions of time
13    will be granted for this purpose absent a compelling showing of good cause.
14
      IT IS SO ORDERED.
15
16       Dated:       November 15, 2018
                                                        UNITED STATES DISTRICT JUDGE
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       MATA: Stipulation to Continue                  -2-
       Sentencing Hearing
